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                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA



 KIMBERLY KATORA BROWN, et al.



 Plaintiffs,                                        Civil Action No: 13-569 (CRC)



          v.



 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA



 Defendant.



       CONSENT CERTAIN PLAINTIFFS’ MOTION TO DISMISS CLAIMS AGANST

                            DEFENDANT DISTRICT OF COLUMBIA


        Certain plaintiffs respectfully move this Court pursuant to Fed. R. Civ. P. 41(a)(2) to dismiss

their claims as follows:


        Plaintiff Kimberly Katora Brown moves this Court to dismiss all her claims with prejudice;


        Plaintiffs Gregory Stewart, Ishebekka Beckford, and Chiquata Steele move this Court to

dismiss all their claims without prejudice;


        All plaintiffs move this Court to dismiss Claim 10, the “Memphis Light” Claim without


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prejudice.


CONSENT SOUGHT AND OBTAINED


       Pursuant to LCvR 7(m) plaintiffs sought the consent of the defendant to relief sought herein

and defendant does consent.


Respectfully submitted,


/s/W Claiborne
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